 Case 2:95-cr-00198        Document 680        Filed 01/11/12     Page 1 of 2 PageID #: 820




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                  CRIMINAL ACTION NO. 2:95-cr-198-04

RANDY CHRISTMAS,

                              Defendant.


                 MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2010, pursuant to the Fair Sentencing Act of 2010, the United States Sentencing

Guidelines were amended resulting in reductions in the guidelines in Section 2D1.1 for cocaine

base. These temporary, emergency amendments to the Guidelines took effect on November 1, 2010.

Permanent amendments implementing the Act were promulgated on April 6, 2011, with an effective

date of November 1, 2011. Subsequently, the Sentencing Commission voted to give retroactive

effect to the permanent amendments. Pursuant to a Standing Order entered on October 7, 2011, this

case was designated for Standard consideration.

       The Court has received and considered the addendum to the Presentence Investigation Report

(PSI) from the Probation Office and received any materials submitted by the parties on this issue.

       Based on the foregoing considerations, the Court finds that the Defendant is ineligible for

a sentence reduction based on the 2011 amendments to U.S.S.G. § 2D.1.1.             Accordingly,
 Case 2:95-cr-00198        Document 680       Filed 01/11/12      Page 2 of 2 PageID #: 821




Defendant’s motion for a sentence reduction is DENIED. Defendant’s Motion for Appointment of

counsel [Docket 668] is DENIED AS MOOT.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                            ENTER:         January 11, 2012




                                               -2-
